      Case 1:19-cv-00114-JRH-BKE Document 23 Filed 11/09/20 Page 1 of 1



             IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION


SHANTE BROWN,                               *
                                            Vr


        Plaintiff,                          *
                                            "k


             V.                             *              CV 119-114
                                            *


ASSETCARE, LLC, a foreign                   *
limited liability company,                  *
                                            k


        Defendant.                          *




                                      ORDER




      Before      the   Court    is   the    Parties'     joint    stipulation     of

dismissal.     (Doc. 22.)       All Parties signed the stipulation; thus,

the   Court finds       dismissal proper         under   Federal    Rule   of   Civil

Procedure 41(a)(1)(A)(ii).            Because the Parties did not stipulate

otherwise, the dismissal is without prejudice.                      Fed. R. Civ. P.

41(a)(1)(B).

      IT IS THEREFORE ORDERED that this matter is DISMISSED WITHOUT


PREJUDICE.     The      Clerk   is   directed    to   TERMINATE    all   motions   and

deadlines and CLOSE this case.           Each party shall bear its own costs

and fees except as otherwise agreed by the Parties.

      ORDER ENTERED at Augusta, Georgia, this _^^day of November,
2020.



                                        J. RAN^L HALL, OHIEF JUDGE
                                        ™iTEp/STATES DISTRICT COURT
                                        SOUTHERN      DISTRICT OF GEORGIA
